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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION

  DEBORAH PAXINOS,
                                                     CV 19-110-BLG-SPW-TJC
                        Plaintiff,

  vs.                                                 ORDER

  BNSF RAILWAY COMPANY, a
  Delaware corporation,

                        Defendant.

        Upon the Stipulation for Dismissal with Prejudice (Doc. 35) between the

parties hereto, by and between their counsel of record,

        IT IS HEREBY ORDERED that the above-entitled cause is dismissed with

prejudice, with each party to bear their own costs and attorney=s fees.

        The Clerk of Court is directed to notify the parties of the making of this

Order.

        DATED this 8th day of June, 2021.



                                               SUSAN P. WATTERS
                                               United States District Judge



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